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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            CASE NO: 1:24-cv-22002-ALTONAGA/Reid

  AMANDA RAMIREZ and
  HANNA PITA, individually and
  on behalf of all others similarly situated,                  CLASS ACTION

            Plaintiffs,                                        JURY TRIAL DEMANDED

  v.

  SHEIN US SERVICES, LLC,

        Defendant.
  __________________________________/

                         PLAINTIFFS’ RESPONSE IN OPPOSITION TO
                      DEFENDANT’S MOTION TO COMPEL ARBITRATION

            Plaintiffs Amanda Ramirez and Hanna Pita respond in opposition to Defendant’s Motion

  to Compel Arbitration (“Mot.” or “Motion”), [DE 18], and state:

       I.       INTRODUCTION

            Defendant seeks to compel arbitration of Plaintiffs’ class action claims on an individual

  basis pursuant to online forms that did not disclose to Plaintiffs that they were agreeing to

  arbitration or a class action waiver. As discussed below, courts in this Circuit require specific

  notice of collateral agreements such the arbitration and class waiver agreements Defendant seeks

  to enforce before compelling enforcement of such agreements. See Goldstein v. Fandango Media,

  LLC, No. 9:21-cv-80466-RAR, 2021 U.S. Dist. LEXIS 139153, at *10 (S.D. Fla. July 27, 2021);

  Johnson v. Whaleco, Inc., 2023 U.S. Dist. LEXIS 184104, at *9-10 (M.D. Fla. Oct. 13, 2023); see

  also Bell v. Royal Seas Cruises, Inc., No. 19-CV-60752-RUIZ/STRAUSS, 2020 U.S. Dist. LEXIS

  85273, at *3 (S.D. Fla. May 13, 2020) report and recommendation adopted, No. 9:21-cv-80466-


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  RAR, 2021 U.S. Dist. LEXIS 139153 (S.D. Fla. July 27, 2021) (Ruiz, J.). Accordingly, because

  Defendant failed to place Plaintiffs on notice of the collateral agreements, this Court should deny

  the Motion and permit this case to proceed as a class action.

     II.      ARGUMENT

              A. Legal Standard
           “Despite courts’ proclivity for enforcement, a party will not be required to arbitrate where

  it has not agreed to do so.” Fridman v. 1-800 Contacts, Inc., No. 21-cv-21700-BLOOM/Otazo-

  Reyes, 2021 U.S. Dist. LEXIS 152553, at *4-5 (S.D. Fla. Aug. 12, 2021) (citing Nat'l Auto

  Lenders, Inc. v. SysLOCATE, Inc., 686 F. Supp. 2d 1318, 1322 (S.D. Fla. 2010), aff'd, 433 F. App'x

  842 (11th Cir. 2011) (citing United Steelworkers of Am. v. Warrior & Gulf Navigation Co., 363

  U.S. 574, 582, 80 S. Ct. 1347, 4 L. Ed. 2d 1409 (1960))). “Under federal law, arbitration is a matter

  of consent, not coercion.” Fridman, 2021 U.S. Dist. LEXIS 152553, at *5 (quoting World Rentals

  & Sales, LLC v. Volvo Constr. Equip. Rents, Inc., 517 F.3d 1240, 1244 (11th Cir. 2008)).

           “[T]he presumption of arbitrability ‘does not apply to disputes concerning whether an

  agreement to arbitrate has been made.’” Bell v. Royal Seas Cruises, Inc., No. 19-CV-60752-

  RUIZ/STRAUSS, 2020 U.S. Dist. LEXIS 85273, at *6 (S.D. Fla. May 13, 2020) (quoting

  Bazemore v. Jefferson Capital Sys., LLC, 827 F.3d 1325, 1329 (11th Cir. 2016) (quoting Dasher

  v. RBC Bank (USA), 745 F.3d 1111, 1115-16 (11th Cir. 2014))). The Supreme Court recently

  reiterated this rule and rejected the claim that arbitration is broadly favored over litigation:

                  Accordingly, a court must hold a party to its arbitration contract just
                  as the court would to any other kind. But a court may not devise
                  novel rules to favor arbitration over litigation….The federal policy
                  is about treating arbitration contracts like all others, not about
                  fostering arbitration.

  Morgan v. Sundance, Inc., 142 S. Ct. 1708, 1710 (2022) (emphasis supplied).


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              B. Florida and North Carolina Law Apply to the Contract Formation Question

         In its Motion, Defendant appears to concede that Florida and North Carolina law apply to

  the question of contract formation as it relies exclusively on case law from those jurisdictions. See

  Mot. at 13-14. To the extent any question remains, Plaintiffs submit that Florida and North

  Carolina law apply because that is where they were located when they clicked on Defendant’s on-

  line forms. See Prime Ins. Syndicate, Inc. v. B.J. Handley Trucking, Inc., 363 F.3d 1089, 1092

  (11th Cir. 2004) (“Under Florida's choice-of-law rules, lex loci contractus applies in contract

  matters[.]”); Valiente v. StockX, Inc., 645 F. Supp. 3d 1331, 1337 (S.D. Fla. 2022)(“Because there

  is a threshold issue of whether Plaintiff assented to the Terms, which includes the choice of law

  clause therein, Florida’s law of contract formation applies to first determine the existence of a

  contract.”) (citing First Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 943 (1995) (“When

  deciding whether the parties agreed to arbitrate a certain matter (including arbitrability), courts

  generally . . . should apply ordinary state-law principles that govern the formation of contracts.”))).

  Moreover, as one district court recently observed, “the law governing formation of Internet

  contracts in New York, North Carolina, and Florida is materially identical to California’s[.]”

  Quamina v. JustAnswer LLC, No. 22-cv-06051-JD, 2024 U.S. Dist. LEXIS 38760 (N.D. Cal. Mar.

  5, 2024).




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             C. Plaintiffs Were not Placed on Notice of the Arbitration Agreement or Class
                Waiver Because Defendant’s On-Line Forms Fail to Describe and Incorporate
                Those Collateral Documents

         Defendant contends that Plaintiffs entered into an Arbitration Agreement and a Class

  Action Waiver provision found within the Arbitration Agreement pursuant to the following three

  on-line forms:




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  See Mot. at 4-6.

         As reflected by the above screenshots, these on-line forms only reference Defendant’s

  “Privacy & Cookie Policy” and “Terms and Conditions” and say nothing about Defendant’s

  Arbitration Agreement and the Class Action Waiver found within the Arbitration Agreement.

  Contrary to what Defendant will likely argue, the Arbitration Agreement is a collateral document

  that is referred to as a stand-alone “AGREEMENT TO ARBITRATE” and “ARBITRATION

  AGREEMENT” in each version of the Terms and Conditions produced by Defendant. See Chi

  Decl., [DE 18-1], at 9-10, 28-33, 50-51, 69-74, 81, 97-98. In other words, the Arbitration

  Agreement is not a clause within the Terms and Conditions, it is a collateral agreement and labeled

  as such.

         At least two courts in this Circuit have denied motions to compel arbitration based on on-

  line forms like those here that did not place consumers on notice by describing and incorporating

  the collateral arbitration agreements within the on-line form. First, in Goldstein v. Fandango

  Media, LLC, the court analyzed whether the following on-line form provided sufficient notice of

  the defendant’s arbitration agreement:


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  No. 9:21-cv-80466-RAR, 2021 U.S. Dist. LEXIS 139153, at *3 (S.D. Fla. July 27, 2021).

         The court ultimately held that it did not, stating in part as follows for its ruling:

                 the language used in Fandango’s browsewrap agreement is
                 insufficient to place a reasonable user on notice that completing a
                 purchase represents a waiver of the user's right to file a lawsuit
                 compelling Fandango’s appearance in court. In Florida, to
                 incorporate a collateral document into an agreement, the agreement
                 must: (1) specifically provide that the collateral document is being
                 incorporated; and (2) sufficiently describe the collateral document
                 being incorporated….Here, Fandango's Arbitration Agreement is a
                 collateral document, but Fandango's notice does not sufficiently
                 describe it so that the user is on notice of the mandatory arbitration
                 provision, nor does Fandango specifically advise the user that an
                 agreement to arbitrate is being incorporated into its Terms and
                 Policies.

  2021 U.S. Dist. LEXIS 139153, at *10 (citing Vitacost.com, Inc. v. Mccants, 210 So. 3d 761, 762

  (Fla. 4th DCA 2017) (“Florida law requires the agreement to specifically provide that the collateral

  document is being incorporated and to sufficiently describe the collateral document to be

  incorporated….The seller's webpages failed to advise the plaintiff that his purchase was subject to

  the terms and conditions of the sale and did not put him on inquiry notice of the arbitration

  provision.”) (citing Herman v. Seaworld Parks & Entertainment, Inc., 2016 U.S. Dist. LEXIS

  181173, 2016 WL 7447555 (Fla. M.D. Aug. 26, 2016); BGT Grp., Inc. v. Tradewinds Engine

  Servs., LLC, 62 So.3d 1192, 1194 (Fla. 4th DCA 2011)).




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         Second, in Johnson v. Whaleco, Inc., Judge Presnell agreed with this requirement and

  denied a motion to compel arbitration for failure to describe and incorporate the arbitration

  provision within the online form. 2023 U.S. Dist. LEXIS 184104, at *9-10 (M.D. Fla. Oct. 13,

  2023) (“Therefore, Plaintiff was not put on notice to the Agreement with Defendant and cannot be

  compelled to arbitrate this dispute.”) (citing Vitacost.com, Inc., 210 So.3d at 764-65; Bell v. Royal

  Seas Cruises, Inc., No. 19-CV-60752-RUIZ/STRAUSS, 2020 U.S. Dist. LEXIS 85273, at *7 (S.D.

  Fla. May 13, 2020) (finding notice sufficient where the statement included explicit notice of

  mandatory arbitration)). Specifically, Judge Presnell found the following on-line form to be

  deficient:




  2023 U.S. Dist. LEXIS 184104, at *2.

         In Bell v. Royal Seas Cruises, Inc., consistent with the above cases, the court found the

  following form to sufficiently disclose the existence of an arbitration agreement because, unlike




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  the forms here, it made specific reference and described the “mandatory arbitration” agreement

  within the form:




  No. 19-CV-60752-RUIZ/STRAUSS, 2020 U.S. Dist. LEXIS 85273, at *3 (S.D. Fla. May 13,

  2020) report and recommendation adopted, No. 9:21-cv-80466-RAR, 2021 U.S. Dist. LEXIS

  139153 (S.D. Fla. July 27, 2021) (Ruiz, J.)

         Like the disclosures in Whaleco and Goldstein, and unlike the form in Bell, Defendant’s

  online forms all fail to describe and incorporate the collateral Arbitration Agreement and Class

  Action Waiver. Indeed, each form refers to Defendant’s “Privacy & Cookie Policy” and “Terms

  and Conditions” but says nothing about the Arbitration Agreement or Class Action Waiver

  contained within the Arbitration Agreement. The failure to specifically describe and incorporate

  the collateral Arbitration Agreement and Class Action Waiver means that Plaintiffs were never

  placed on notice of the agreements – notwithstanding any arguments by Defendant regarding the

  conspicuousness of the disclosures of its “Privacy & Cookie Policy” and “Terms and Conditions”

  – and, therefore, the Arbitration Agreement or Class Action Waiver are unenforceable.

         Defendant will likely attempt to align its forms and online terms with those of cases where

  courts have found that specific notice of the collateral arbitration agreement was not required. See

  Adams v. Lashify, Inc., 689 F. Supp. 3d 1146, at n.6 (M.D. Fla. 2023); Derriman v. Mizzen & Main

  LLC, No. 8:23-cv-1132-CEH-UAM, 2023 U.S. Dist. LEXIS 230653 (M.D. Fla. Dec. 29, 2023);

  Falcon v. Televisaunivision Digit., Inc., No. 8:23-cv-02340-TPB-UAM, 2024 U.S. Dist. LEXIS

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  57331, at *9 (M.D. Fla. Mar. 29, 2024). But, unlike here, each of those cases involved arbitration

  clauses that were part of the terms and conditions, not collateral agreements like the Arbitration

  Agreement at issue in this case. See Lashify, 689 F. Supp. 3d at 1157 (M.D. Fla. 2023)

  (“Accordingly, Plaintiff is subject to the valid, written Internet Agreement and its associated

  arbitration clause.”) (emphasis supplied); Derriman, 2023 U.S. Dist. LEXIS 230653, at *23

  (M.D. Fla. Dec. 29, 2023) (“Therefore, Plaintiff had inquiry notice of the Messaging Agreement

  and the arbitration clause within it.”) (emphasis supplied); Falcon, 2024 U.S. Dist. LEXIS 57331,

  at *10 (“Because Plaintiff had inquiry notice of ViX's entire Terms of Use agreement, including

  the arbitration clause, Defendant's motion to compel arbitration is granted.”) (emphasis supplied).

            The distinction is significant under the law. If Defendant wanted to bind Plaintiffs to its

  Arbitration Agreement and Class Action Waiver, it needed to provide notice of those agreements

  just as it did with its “Privacy & Cookie Policy” and “Terms and Conditions”. Defendant’s decision

  to conceal from Plaintiffs the significant agreements to which it attempted to bind Plaintiffs should,

  respectfully, result in denial of Defendant’s Motion.

     III.      CONCLUSION

            Defendant’s online forms failed to place Plaintiffs on notice of Defendant’s Arbitration

  Agreement and Class Action Waiver by incorporating and describing those collateral agreements.

  Consequently, Plaintiffs did not agree to Defendant’s Arbitration Agreement and Class Action

  Waiver and the Motion should be denied.

            WHEREFORE, Plaintiffs respectfully request an Order denying Defendant’s Motion and

  for such other relief deemed appropriate.




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   Date: August 1, 2024

                                             Respectfully submitted,

                                             HIRALDO P.A.


                                             /s/ Manuel S. Hiraldo
                                             Manuel S. Hiraldo, Esq.
                                             Florida Bar No. 030380
                                             401 E. Las Olas Boulevard
                                             Suite 1400
                                             Ft. Lauderdale, Florida 33301
                                             Email: mhiraldo@hiraldolaw.com




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